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                         United States District Court
                          Northern District of Texas
                              Amarillo Division
STATE OF TEXAS,
   Plaintiff,
v.

                                                 Case 2:22-cv-00094
ALEJANDRO MAYORKAS, in his official
 capacity as Secretary of Homeland
 Security, et al.,
  Defendants.


     Joint Status Report on Additional Briefing and Proceedings
        and Request for Brief Extension to Submit Proposals

   The Court directed the parties in its June 29 order, ECF No. 66, to submit

proposals for additional proceedings and briefing in this matter by July 20,

2022. The parties have conferred extensively about the discovery sought in this

case and the best means of resolving their claims and defenses. Following those

discussions, Texas has decided to withdraw its preliminary-injunction motion,

ECF No. 20, and the parties agreed to delay their noticed depositions and

outstanding discovery obligations so discovery could be consolidated within a

single period as part of a more comprehensive schedule. The parties have

conferred and exchanged proposals for that schedule, but request a brief

extension to allow the parties to confer further and attempt to narrow current

areas of disagreement.

   Accordingly, the parties respectfully request that the Court extend the

deadline to provide proposals for additional proceedings and briefing by 3

business days to Monday, July 25, 2022.
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Dated July 20, 2022.                   Respectfully submitted,
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                           Certificate of Service
  I certify that on July 20, 2022, I filed this document through the Court’s
EM/ECF system, which serves it upon all counsel of record.
                                       /s/ Leif A. Olson




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